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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 JOHN DOE 1 and JOHN DOE 2,

       Plaintiffs,

 v.

 REV. MIROSLAW KROL, and the           Case No. 20−13287
 ORCHARD LAKE SCHOOLS                  Hon. Denise Page Hood
 (“OLS”)
 a Michigan non-profit corp.,

       Defendants.

 Jennifer B. Salvatore (P66640)        Alex L. Alexopoulos (P40547)
 Nakisha Chaney (P65066)               Zeth D. Hearld (P79725)
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 Porter, PLLC                          Attorneys for Defendant OLS
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                  STIPULATED ORDER OF DISMISSAL
                 WITH PREJUDICE AND WITHOUT COSTS


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      The parties having stipulated to the dismissal of the above referenced cause

of action with prejudice and without costs, interest and attorney fees to any party,

and the Court being otherwise fully advised in the premises;

      IT IS HEREBY ORDERED that the above entitled cause be and is dismissed

with prejudice and without costs, interest and attorney fees to any party.


Dated: September 26, 2022              s/Denise Page Hood
                                       Hon. Denise Page Hood
                                       U.S. District Court Judge

Approved as to form and substance:

/s/ Jennifer B. Salvatore
Jennifer B. Salvatore (P66640)
Attorney for Plaintiffs

/s/ Alex L. Alexopoulos
Alex L. Alexopoulos (P40547)
Attorney for Defendant OLS

/s/ Roy H. Henley
Roy H. Henley (P39921)
Attorney for Defendant Krol




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